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16                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF CALIFORNIA
17
18   IN RE:                                         No. 3:17-CV-0108-GPC-MDD
19   QUALCOMM LITIGATION                            REPLY IN FURTHER SUPPORT
                                                    OF QUALCOMM
20                                                  INCORPORATED’S DAUBERT
                                                    MOTION NO. 4 TO EXCLUDE
21                                                  EXPERT TESTIMONY
                                                    REGARDING EXHAUSTION AND
22                                                  “SUBSTANTIAL EMBODIMENT”
                                                    (VALENTI, WICKER, AKL, BIMS,
23                                                  LANNING, STARK, STEVENSON,
                                                    WELLS, LIBCHABER, MEYER
24                                                  AND SIMCOE)
                                                    Judge:     Hon. Gonzalo P. Curiel
25
                                                    Courtroom: 2D
26                                                  Date:      March 21, 2019
27                                                  Time:      1:30 pm.

28
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 1                                      INTRODUCTION
 2         Apple’s opposition fails to engage with the substance of Qualcomm’s motion.
 3         First, Apple’s expert opinions fail to address the operative question: whether any
 4   of the five chipset models actually sold by Qualcomm to the CMs substantially embodies
 5   any Qualcomm patents. They admittedly do not discuss any real chipset, but rather a
 6   “                   ”. (ECF 815-01 (“Mot.”) at 4-5, 7-8.) Because the opinions do not
 7   examine the operative issue in this case, they are both unreliable and irrelevant. Daubert
 8   v. Merrell Dow Pharms., Inc., 509 U.S. 579, 591 (1993). Apple has not shown either that
 9   its experts’ opinions address any actual Qualcomm product or that hypothetical
10   substantial embodiment opinions are relevant to any issue in the case.
11         Second, the opinions are methodologically flawed—and fatally so—because they
12   do not address, for any product or patent, whether it is the chipset hardware, the
13                        , or a combination of the two, that supposedly substantially embodies
14   Qualcomm’s patents. (Mot. at 8-10.) Apple does not dispute that its experts failed to
15   consider the Apple Software and has not shown that its experts evaluated the actual
16   hardware supplied by Qualcomm or the actual Apple Software.
17         Rather than respond to the merits of Qualcomm’s motion, Apple merely presents a
18   series of distractions. Qualcomm’s motion should be granted.
19                                         ARGUMENT
20   I.    Judge Koh’s Summary Judgment Decision Is Irrelevant to This Motion.
21         Apple first argues that “[t]here is no genuine dispute that Qualcomm’s baseband
22   chipsets substantially embody certain Qualcomm standard essential patents”. (ECF 939
23   (“Opp’n”) at 1 (emphasis added).) But whether some of Qualcomm’s baseband chipsets
24   substantially embody some of Qualcomm patents is not the issue here. The question—
25   unanswered by the Apple Technical Experts—is whether the particular chipsets sold by
26   Qualcomm to the CMs substantially embody particular Qualcomm patents.
27         Apple attempts to distract from that fundamental failing by citing Judge Koh’s
28   summary judgment decision in FTC v. Qualcomm Inc., Case No. 17-cv-00220-LHK

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 1   (N.D. Cal.). But Judge Koh’s decision did not address exhaustion or substantial
 2   embodiment. The court considered only whether, under the TIA and ATIS IPR policies,
 3   Qualcomm had a contractual obligation “to license its essential patents to competing
 4   modem chipset suppliers”. (No. 17-cv-00220-LHK, ECF 931 at 1.) That is, to the extent
 5   Qualcomm has SEPs that read on modem chips, is Qualcomm obliged to license such
 6   SEPs for the manufacture or sale of modem chips? As Apple points out, Judge Koh
 7   noted that “Qualcomm concedes that Qualcomm owns SEPs that are infringed by typical
 8   modem chips” (Opp’n at 1), and found against Qualcomm. (No. 17-cv-00220-LHK,
 9   ECF 931 at 25.) But no product was found to substantially embody any patent. No such
10   question was even considered.
11   II.    The Fact That Apple’s Claims Raise the Issue of Exhaustion Does Not Mean
12          That Apple’s Expert Opinions Meet the Requirements of Admissibility.
13          Apple argues that its experts’ opinions are relevant because “patent exhaustion
14   remains relevant in this case”. (Opp’n at 3.) This argument fails to grapple with the
15   requirements for admissibility. Unquestionably, patent exhaustion, as an issue, is part of
16   Apple’s pleadings and, to that extent, is “relevant in this case”. Qualcomm is not taking a
17   contrary position. But the mere fact that the issue of exhaustion has been raised does not
18   begin to satisfy the requirements of Rule 702, nor does it excuse the experts’ complete
19   failure to analyze any actual Qualcomm chipsets or Apple Software.
20   III.   The Apple Technical Experts Do Not Follow Judicial Precedent.
21          In arguing that its experts “faithfully follow” precedent (Opp’n at 4), Apple is just
22   wrong. Precedent requires the proponent of patent exhaustion to demonstrate an
23   “authorized sale of an article”, where “the article” sold “substantially embodies a patent”.
24   Quanta, 533 U.S. at 638; JVC Kenwood Corp. v. Nero, Inc., 797 F.3d 1039, 1046 (Fed.
25   Cir. 2015); Minebea Co. v. Papst, 444 F. Supp. 2d. 68, 161 n.69 (D.D.C. 2006) (“The
26   unit of analysis for patent exhaustion is, after all, the article sold, and the authorized first
27   sale of an article under a patent may exhaust the patent holder’s rights only with respect
28   to that article.”). Apple’s experts make no attempt to do this. Their lead expert, Valenti,
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 1
 2                                                                                (Ex. 29
 3   (Valenti Opening Rpt.) ¶¶ 3, 26.) The other Apple Technical Experts similarly
 4
 5                                  .2 (E.g., Ex. 30 (Stevenson Rebuttal Rpt.) ¶¶ 27, 30.) In its
 6   opposition, Apple settles for arguing that each expert gives opinions that “the baseband
 7   chipset” (not an actual chipset) “would” (not “does”) substantially embody certain
 8   patents. (Opp’n at 4.) This is no exhaustion analysis.
 9           Apple’s assertion that “Qualcomm declared the patents essential” and that “the
10   baseband chipset” therefore “would necessarily practice” the patents (id. at 6, 10) does
11   not hold water. First, patents are not “declared essential”. Rather, the patent holder
12   declares that a patent “might be essential”. (Ex. 31 (ETSI IPR Policy) § 4.1.) Second,
13   cellular standards are expressly drawn to “user equipment” (e.g., smartphones), not to
14   baseband chipsets. (Ex. 32 (Williams Rebuttal Rpt.) ¶ 3a, 42-46.) Logically, one cannot
15   start from the premise of a declaration that a patent “might be essential” to “user
16   equipment” and from that infer that a specific baseband chipset necessarily “practices”
17   (i.e., infringes), or substantially embodies, the patent. The specific chipset must be
18   compared to the specific patent to make either determination.
19           The Apple Technical Experts needed to assess whether the actual Qualcomm
20   chipsets sold to the CMs in fact substantially embody specific Qualcomm patents, not
21   whether a postulated, generic chipset “would”, hypothetically speaking. To be relevant
22
23
        1
24          Additionally, Valenti
                                               (Ex. 33 (Valenti Dep.) at 85:22-87:6.)
25      2
          Apple’s argument that the “the benchmark chipset” its experts discuss is
26   “representative” of actual Qualcomm chipsets (Opp’n at 2, 5) thus lacks any basis in fact.
     Indeed, in sworn testimony, its experts admitted (or at least did not deny) that their
27   opinions were based on                                                    . (E.g., Ex. 34
28   (Wicker Dep.) at 222:12-24; Ex. 35 (Akl Dep.) at 64:16-20; 147:7-11; Ex. 36 (Bims
     Dep.) at 92:19-23.)
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 1   and reliable—to be admissible—the experts’ opinions must address the legally operative
 2   question. Beyond dispute, they do not.
 3   IV.   The Apple Technical Experts Improperly Ignore the Apple Software.
 4         Finally, the experts make no effort to establish whether the functionality they argue
 5   substantially embodies a particular Qualcomm patent claim is, in fact, implemented by
 6   chipset hardware supplied by Qualcomm, by the Apple Software, or by some
 7   combination of the two. (See Mot. at 8-10.) Put another way, it is impossible to tell from
 8   the experts’ opinions whether any patent was substantially embodied by a chipset when
 9   that chipset left Qualcomm’s loading dock, or, instead, is substantially embodied only
10   when the chipset executes the Apple Software. This is truly remarkable, particularly as to
11   Valenti, who                                                                           . (Id.
12   at 8.) The failure of the experts to tackle whether Qualcomm or Apple provides the
13   inventive functionality renders any conclusion that an article provided by Qualcomm
14   substantially embodies these claims entirely unreliable.
15         Apple argues that its experts did not need to address the role of the software
16   supplied by Apple because “the exhaustion jurisprudence does not require that the article,
17   on its own, substantially embody a patent”. (Opp’n at 7 (emphasis in original).) But that
18   is exactly what the cases require. The rule is that the article—not the article “plus any
19   other stuff you like”—must substantially embody the patent. Quanta Comput., Inc. v. LG
20   Elecs., Inc., 553 U.S. 617, 638 (2008). To be sure, the article need not infringe the patent
21   to substantially embody it. For example, in Quanta, the Court explained that “the
22   incomplete article substantially embodies the patent because the only step necessary to
23   practice [i.e., infringe] the patent is the application of common processes or the addition
24   of standard parts”. Id. at 633. The article itself must substantially embody the patent; if
25   other non-inventive elements are needed for infringement, substantial embodiment is not
26   negated.
27         The question here is whether the Apple Software, which controls the Qualcomm
28   chipsets, is merely a non-inventive “standard part”. In Quanta and United States v.
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 1   Univis Lens Co., 316 U.S. 241 (1942), it was undisputed that the “inventive aspects” or
 2   “essential features” of the relevant patents were embodied in the articles at issue.3 Here,
 3   substantial embodiment is very much disputed. For the opinions of Apple’s experts to be
 4   admissible, they would need to determine whether the actual articles sold by Qualcomm,
 5   not the                             , embodied the “essential features” of the selected
 6   patents. Apple neither disputes that
 7
 8          . The Apple Technical Experts cannot have performed a relevant and reliable
 9   analysis of substantial embodiment if they did not consider this issue. None of them did.4
10           Apple further argues that Qualcomm’s chipsets have no reasonable non-infringing
11   uses (as to unspecified Qualcomm SEPs), and therefore Qualcomm’s sales of chipsets
12   were exhaustive. (Opp’n at 7-9.) But even if that were true, that is only part of the test
13   for substantial embodiment. Apple must still show that “the article” sold “included all
14   the inventive aspects” of the patent. Quanta, 553 U.S. at 638.
15           Because the Apple Technical Experts only considered functionality performed by
16   the hardware and the software together, they cannot say whether the hardware that
17   Qualcomm supplies, by itself, substantially embodies any patent.
18                                          CONCLUSION
19           For the foregoing reasons, and those set forth in Qualcomm’s opening brief,
20   Qualcomm’s motion should be granted in its entirety.
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           Quanta, 553 U.S. at 624 (“LGE filed a complaint against Quanta asserting that the
26   combination of the Intel Products with non-Intel memory and buses infringed the LGE
     Patents.”); Univis, 316 U.S. at 249 (“[E]ach blank, as appellees [Univis] insist, embodies
27   essential features of the patented device . . . .”).
         4
28         E.g., Ex. 34 (Wicker Dep.) at 234:16-237:14; Ex. 35 (Akl Dep.) at 51:12-14; Ex. 36
     (Bims Dep.) at 105:18-21.
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 1                                  CERTIFICATE OF SERVICE

 2               The undersigned hereby certifies that a true and correct copy of the above
 3   and foregoing document has been served on March 8, 2019, to all counsel of record who
 4   are deemed to have consented to electronic service via the Court’s CM/ECF system per
 5   Civil Local Rule 5.4(d). Any other counsel of record will be served by electronic mail,
 6   facsimile and/or overnight delivery.
 7               I certify under penalty of perjury that the foregoing is true and correct.
 8   Executed on March 8, 2019, at New York, New York.
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